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        In the United States Court of Federal Claims
                                        No. 08-132T
                                 (Filed: October 22, 2010)

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                                          *
LAUREATE EDUCATION, INC.,                 *
                                          *
                    Plaintiff,            *
                                          *
v.                                        *
                                          *
THE UNITED STATES,                        *
                                          *
                    Defendant.            *
                                          *
* * * * * * * * * * * * * * * * *

                                        ORDER

        The parties’ joint motion, filed October 21, 2010, to suspend the above-captioned
case in order for the parties to finalize a settlement is GRANTED. Accordingly, the case
is STAYED. The parties shall file a joint status report by January 21, 2011, detailing
the status of the settlement in the approval process.

      IT IS SO ORDERED.


                                                s/Nancy B. Firestone
                                                NANCY B. FIRESTONE
                                                Judge
